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Court-Appointed Receiver and Attorneys for Court-Appointed Receiver

                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH


SECURITIES AND EXCHANGE
COMMISSION,                                       SECOND INTERIM FEE APPLICATION
                                                    FOR RECEIVER AND RECEIVER’S
                       Plaintiff.                   PROFESSIONALS FOR SERVICES
                                                     RENDERED FROM APRIL 1, 2017
         V.                                            THROUGH JUNE 3O, 2017
TRAFFIC MONSOON, LLC, a Utah Limited                           2:16-cv-00832-JNP
Liability Company, and CHARLES DAVID
SCOVILLE, an individual,                                  The Honorable Jill N. Parrish

                       Defendants.



         Peggy Hunt, the Court-appointed Receiver (the “Receiver”) of Traffic Monsoon, LLC

(“Traffic Monsoon”) and the assets of Charles David Scoville (“Scoville” and, together with

Traffic Monsoon, the “Defendants”) that were obtained directly or indirectly from Traffic

Monsoon, hereby submits this interim “Fee Application,” seeking approval by the Court of fees

and expenses incurred by the Receiver, the Receiver’s counsel, Dorsey & Whitney LLP

(“Dorsey”), and the Receiver’s accountants, Berkley Research Group (“BRG”), for the period of

April 1, 2017 through June 30, 2017 (the “Application Period”) and authorization to pay all



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allowed fees and expenses from funds of the Receivership Estate. In support hereof, the

Receiver states as follows.

                                                    I.

                                         CASE BACKGROUND

           1.        On July 26, 2016, the above-captioned case was commenced by the United States

Securities and Exchange Commission (the “SEC”) against the Defendants, alleging violations of

federal securities laws. On that same day, the Court entered a Temporary Restraining Order and

Order Freezing Assets, which was amended, in relevant part, on July 27, 2016 and on November

4, 2016. 1

           2.        On July 27, 2016, the Court entered an Order Appointing Receiver (the

“Receivership Order”), 2 thereby appointing the Receiver and stating in paragraphs 19 and 20 as

follows:

           19.     The Receiver is authorized to employ professionals to assist her in
           carrying out the duties and responsibilities described in this Order. The Receiver
           shall not engage any professionals without first obtaining an Order of the Court
           authorizing such engagement. The Receiver is authorized to retain Dorsey &
           Whitney LLP, a firm in which the Receiver is a partner, as the Receiver’s counsel
           in this matter.

           20.    The Receiver and Retained Professionals are entitled to reasonable
           compensation and expense reimbursement from the receivership estate as
           described in the “Billing Instructions for Receivers in Civil Actions commenced
           by the U.S. Securities and Exchange Commission (the “Billing Instructions”)
           agreed to by the Receiver. Such compensation shall require the prior approval of
           the Court.




1
    Docket Nos. 8, 14 & 56.
2
    Docket No. 11.

                                                     2
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           3.        The Court thereafter entered an Order Granting Receiver’s Ex Parte Motion

Seeking Authorization to Employ Accountants, 3 authorizing the Receiver’s employment of BRG

effective as of September 2, 2016.

           4.        On March 28, 2017, the Court entered, among other things, a Preliminary

Injunction 4 and an Amended Order Appointing Receiver (the “Amended Receivership Order”). 5

The Amended Receivership Order restates, without making substantive changes to, paragraphs

19 and 20 of the Receivership Order quoted in ¶ 2 above. 6

           5.        On June 13, 2017, the Court entered an Order Establishing Administrate Expense

Payment Procedures (the “Fee Procedures Order”), 7 setting forth procedures for the request and

payment of professional fees and expenses in this case. This Fee Application is an “Interim Fee

Application” within the meaning of ¶ 10 of the Fee Procedures Order and is intended to meet the

criteria of ¶¶ 11 through 15 of that Order. There is no summary of monthly “Requests” made

herein inasmuch as none have been filed during the quarter, and no fees or expenses have been

paid during the quarter. It is anticipated that the Receiver and her professionals will commence

filing Notices of Request for Payment in August 2017.




3
    Docket No. 25.
4
    Docket No. 79.
5
    Docket No. 81.
6
    Id. (Amended Receivership Order ¶¶ 17-18).
7
     Docket No. 101.


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          6.         On July 31, 2017, the Receiver filed her Second Status Report (the “Status

Report”). 8 The Status Report outlines the work done by the Receiver and her professionals

during the current Application Period and is incorporated herein by reference.

                                                     II.

                FEES AND EXPENSES REQUESTED ARE ACTUAL, NECESSARY
                    AND REASONABLE FOR THE SERVICES RENDERED

          7.         During the Application Period, significant professional services were required to

perform the work outlined in the Status Report that is incorporated herein.

          8.         The Receiver and her professionals have provided actual and necessary services

related to the matters summarized in the Status Report and detailed in the Exhibits attached

hereto for the benefit of the Receivership Estate. Out-of-pocket expenses were also incurred by

the professionals in rendering services to the Receivership Estate.

          9.         Dorsey and BRG have submitted their invoices to the Receiver on a monthly

basis, and the Receiver has reviewed and approved the invoices, including with any reductions

outlined below.

          10.        The Fee Application complies with the SEC’s Billing Instructions. In accordance

with ¶ 12 of the Fee Procedure Order and the SEC Billing Instructions, the Receiver submitted

this Fee Application to the SEC prior to filing it with the Court, and the SEC has informed the

Receiver that it has no objection to the payment of the fees or reimbursement of the expenses

outlined herein.




8
    Docket No.104.


                                                      4
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         11.       With any adjustments made, the Receiver believes that the fees and expenses are

reasonable, especially in light of the work that has been done during the Application Period as

outlined in the Status Report. She also believes that the services rendered and the expenses

advanced have been beneficial to the Receivership Estate.

                                                   III.

                                      SUMMARY OF EXHIBITS

         12.       Professional services have been recorded contemporaneously with services being

rendered and these services, as well as the expenses incurred, are detailed in the attached

Exhibits described below.

         13.       The Receiver and Dorsey have maintained their time in records organized

according to tasks, with each task record being maintained in chronological order. BRG has

maintained its time in monthly time reports, with each month being broken into task categories.

         14.       The following three Exhibits are attached hereto in support of this Fee

Application:

                                Exhibit A—Time Records of Receiver

                          Exhibit A                             Summary by Task

                          Exhibit A-1                           Case Administration

                          Exhibit A-2                           Asset Recovery

                          Exhibit A-3                           General Litigation

                                 Exhibit B—Time Records of Dorsey

                          Exhibit B                             Summary by Task

                          Exhibit B-1                           Case Administration

                          Exhibit B-2                           Asset Recovery

                                                    5
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                          Exhibit B-3                           General Litigation

                          Exhibit B-4                           Out-of-Pocket Expenses

                                  Exhibit C—Time Records of BRG

                          Exhibit C                             Summary by Month

                          Exhibit C-1                           April 2017 Invoice

                          Exhibit C-2                           May 2017 Invoice

                          Exhibit C-3                           June 2017 Invoice

                                                   IV.

                              SUMMARY OF AMOUNTS REQUESTED

           15.     The total amounts requested for the Receiver and her professionals in this Fee

Application are summarized as follows:

                   a.     Receiver: From April 1, 2017 through the end of the Application Period

           on June 30, 2017, the Receiver has worked a total of 90 hours providing receivership

           services to the Receivership Estate for which fees in the total amount of $28,937.70 have

           been incurred. 9

                   b.     Dorsey: From April 1, 2017 through the end of the Reporting Period on

           June 30, 2017, Dorsey has worked a total of 155.50 hours and provided legal services to

           the Receivership Estate for which fees in the total amount of $43,234.50 and out-of-

           pocket expenses in the total amount of $525.55 have been incurred. 10

                   c.     BRG: From April 1, 2017 through the end of the Reporting Period on

           June 30, 2017, BRG has worked a total of 371.00 hours providing forensic and general
9
    See Exh. A.
10
     See Exh. B.


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           accounting services to the Receivership Estate for which fees in the total amount of

           $96,740.00 and out-of-pocket expenses in the total amount of $51.33 have been

           incurred. 11

           16.     The amounts requested as outlined above include voluntary reductions made by

the respective professionals in an exercise of their billing judgment and/or at the request of the

Receiver or the SEC. The Receiver has voluntarily reduced her fees in the total amount of

$3,057.30. 12 Dorsey has voluntarily reduced its fees in the total amount of $3,770.00. 13 BRG

has voluntarily reduced its fees in the total amount of $1,374.50. 14

           17.     The Receivership Estate has sufficient funds to pay all amounts requested. 15

                                                          V.

                   PRIOR REQUESTS AND INTERIM NATURE OF REQUEST

           18.     This is the second Fee Application of the Receiver and her professionals.

           19.     On June 7, 2017, the Court entered an Order Approving First Interim Fee

Application For Receiver and Receiver’s Professionals For Services Rendered From July 27,

2016 Through March 31, 2017, 16 allowing the fees and expenses requested and authorizing

payment of the same. The Receiver has made the payments authorized by that Order. 17


11
     See Exh. C.
12
     See Exh. A.
13
     See Exh. B.
14
     See Exh C.
15
     See Docket No. 104 (Status Report, p. 14 & Exh. A (SFAR)).
16
     Docket No. 100.
17
     See Docket No. 104 (Status Report, Exh. A (SFAR)).

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         20.       The Receiver and her professionals understand that authorization and payment of

fees and expenses is interim in nature. All fees and expenses allowed on an interim basis will be

subject to final review at the close of the case and the discharge of the Receiver when the

Receiver files a final accounting and final fee application.

                                                   VI.

                   CONCLUSION AND REQUEST FOR COURT APPROVAL

         21.       For the reasons set forth above and as supported by the Exhibits attached hereto,

the Receiver respectfully submits that the fees and expenses requested herein are for actual

services that were necessary for and beneficial to the administration of the Receivership Estate.

The Receiver has made every attempt to contain the administrative expenses of this Receivership

Estate, and she submits that given the work that has been performed as outlined in the Receiver’s

Status Report, the fees and expenses that have been incurred are reasonable.

         22.       Thus, the Receiver respectfully submits this Fee Application and requests that the

Court enter an Order allowing the fees and expenses requested herein, and authorizing the

Receiver to pay the fees and reimburse the expenses from funds of the Receivership Estate. A

proposed form of Order is attached hereto as Exhibit D.

         Dated this 16th day of August, 2017.

                                                         RECEIVER



                                                            /s/ Peggy Hunt
                                                         Peggy Hunt
                                                         Receiver, Peggy Hunt




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                                         DORSEY & WHITNEY LLP


                                            /s/ Michael F. Thomson
                                         Michael F. Thomson
                                         Attorneys for Receiver, Peggy Hunt




                                         BERKLEY RESEARCH GROUP



                                         /s/ Marvin Tenebaum
                                         Marvin Tenenbaum
                                         Senior Vice President & Special Advisor to
                                         the Chairman




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 16th day of August, 2017, I caused the foregoing SECOND

INTERIM FEE APPLICATION FOR RECEIVER AND RECEIVER’S

PROFESSIONALS FOR SERVICES RENDERED FROM APRIL 1, 2017 THROUGH

JUNE 30, 2017 to be electronically filed with the Clerk of the Court using the CM/ECF system

which will send notification of the filing to all counsel of record in this case.



                                                           /s/ Candy Long



         I further certify that on this 16th day of August, 2017, I caused the foregoing SECOND

INTERIM FEE APPLICATION FOR RECEIVER AND RECEIVER’S

PROFESSIONALS FOR SERVICES RENDERED FROM APRIL 1, 2017 THROUGH

JUNE 30, 2017 to be email to the following:


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lwashburn@smithcorrell.com
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edwin@edwinwall.com


                                                           /s/ Candy Long




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